     Case 4:19-cr-00832 Document 117 Filed on 06/07/21 in TXSD Page 1 of 1

                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

UNITED STATES OF AMERICA

v.                                              Case Number: 4:19−cr−00832

Patricia Ann Garcia



                            NOTICE OF RESETTING

A proceeding has been reset in this case as to Patricia Ann Garcia as set forth
below.

Before the Honorable George C Hanks, Jr
PLACE:
by video


DATE: 6/8/2021
TIME: 10:45 AM
TYPE OF PROCEEDING: Sentencing


Date: June 7, 2021                                            Nathan Ochsner, Clerk
